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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


PATRICK ANTHONY RIBBING,

       Plaintiff,

v.                                                Case No. 3:20cv5696-MCR-HTC

PENSACOLA STATE COLLEGE, et al.,

      Defendants.
__________________________________/

                                     ORDER

       This case is before the Court based on the Magistrate Judge’s Report and

Recommendation (Doc. 6). The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). No objections have been filed. The docket

reflects that the Report and Recommendation was returned as undeliverable and

“unable to forward.” The docket also reflects that all other mail from the Court to

Plaintiff has been returned as undeliverable. It is the Plaintiff’s responsibility to

maintain a current address with the Court. Moreover, an affidavit from Plaintiff filed

on September 1, 2020, is untimely and fails to comply with the prior order of the

Magistrate Judge.
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     Having considered the Report and Recommendation, I have determined that

the Report and Recommendation should be adopted.

     Accordingly, it is now ORDERED as follows:

     1.    The Magistrate Judge’s Report and Recommendation (Doc. 6) is

     adopted and incorporated by reference in this Order.

     2.    This case is DISMISSED WITHOUT PREJUDICE for Plaintiff’s

     failure to prosecute and failure to comply with orders of the Court.

     3.    The clerk is directed to close the file.

     DONE AND ORDERED this 25th day of September 2020.




                              s/   M. Casey Rodgers
                              M. CASEY RODGERS
                              UNITED STATES DISTRICT JUDGE




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